          Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


   WSOU INVESTMENTS, LLC d/b/a                     §    CIVIL ACTION NO. 6:20-cv-487-ADA
   BRAZOS LICENSING AND                            §    CIVIL ACTION NO. 6:20-cv-488-ADA
   DEVELOPMENT,                                    §    CIVIL ACTION NO. 6:20-cv-489-ADA
                                                   §    CIVIL ACTION NO. 6:20-cv-490-ADA
             Plaintiff,                            §    CIVIL ACTION NO. 6:20-cv-491-ADA
                                                   §    CIVIL ACTION NO. 6:20-cv-492-ADA
   v.                                              §    CIVIL ACTION NO. 6:20-cv-493-ADA
                                                   §    CIVIL ACTION NO. 6:20-cv-494-ADA
                                                   §    CIVIL ACTION NO. 6:20-cv-495-ADA
   ZTE CORPORATION, ZTE (USA)                      §    CIVIL ACTION NO. 6:20-cv-496-ADA
   INC., AND ZTE (TX), INC.                        §    CIVIL ACTION NO. 6:20-cv-497-ADA
                                                   §
             Defendants.                           §          JURY TRIAL DEMANDED



                  PLAINTIFF’S RESPONSE OPPOSING MOTION TO STAY

        ZTE Corporation’s (“ZTC”), ZTE USA Inc.’s (“ZTA”), and ZTE TX, Inc.’s (“ZTX)

(collectively “ZTE”) Motion to Stay pending ZTE’s motion to dismiss for improper venue should

be denied. The lengthy stay ZTE seeks would harm WSOU by delaying WSOU’s right to a speedy

trial. There is no need for a stay to avoid harm to ZTE. Nor is a stay necessary for judicial economy.

Rather, if ZTE cooperates, the parties can complete venue discovery and briefing before the May

20-21 Markman hearings. A stay would only create an incentive for ZTE to drag out venue
discovery.

   A. Legal Standard
        A district court has the inherent power to control its own docket, including the power to

stay proceedings before it. See Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court

has broad discretion to stay proceedings as an incident to its power to control its own docket.”).

How to best manage the court's docket “calls for the exercise of judgment, which must weigh

competing interests and maintain an even balance.” Landis v. N. Am. Co., 299 U.S. 248, 254-55




                                                  1
          Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 2 of 7




(1936); Gonzalez v. Infostream Grp., Inc., Case No. 2:14-CV-906, 2015 WL 12910770, at *1

(E.D. Tex. Mar. 2, 2015).

   B. The stay factors relied on by ZTE do not support a stay.

       In determining whether to issue a stay of proceedings, courts have considered: (1) whether

the movant has made a showing of likelihood of success on the merits; (2) whether the movant has

made a showing of irreparable injury if the stay is not granted; (3) whether granting of the stay

would substantially harm the other parties; and (4) whether granting of the stay would serve the

public interest. See U.S. v. McKenzie, 697 F.2d 1225, 1226 (5th Cir. 1983). These factors weigh

against a stay.
       1. ZTE has not shown a likelihood of success on the merits.
       ZTE has not shown a likelihood of success on the merits. To support this factor, ZTE baldly

insists “[n]o amount of venue discovery will change the facts” that ZTE USA and ZTE TX

“severed all ties with WDTX.” -487 ECF 49 at 5-6. Of course, determining the truth of these

allegations is the purpose of venue discovery. ZTE’s Motion to Stay should not be granted based

on assumptions about what discovery will reveal. Avoiding such assumptions is the reason a stay

pending resolution of a motion to dismiss is rarely appropriate. Hernandez v. Baylor Univ., 6-16-

CV-069 RP, 2016 WL 9450693, at *2 (W.D. Tex. Sept. 21, 2016) (“A stay of the type where a

party asserts that dismissal is likely, would require the court to make a preliminary finding of the
likelihood of success on the motion to dismiss . . . this would circumvent the procedures for

resolution of such a motion.”). It is the same type of harm In re Apple warned against – making a

determination based on the assumed outcome of a transfer motion. In re Apple, No. 20-135, slip

op. at 5 (Fed. Cir. Nov. 9, 2020) (arguing that deciding the merits of a case before deciding a

motion to transfer temporarily assumes there will be no transfer).
       2. The public interest factor weighs against granting a stay.
       ZTE cites In re Apple, arguing this Court should give ZTE’s motion to dismiss or transfer

“top priority” so as to “not burden itself with the merits of the action” before deciding ZTE’s



                                                 2
          Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 3 of 7




motion to dismiss. Def.’s Mot. to Dismiss, -487 ECF No. 49 at 2 citing In re Apple, No. 20-135,

slip op. at 5 (Fed. Cir. Nov. 9, 2020).

       Of course, this Court has given venue top priority by allowing discovery on venue before

discovery on any other issue. Giving a venue motion “top priority” does not, however, mean

discontinuing all other activities. Allowing the parties to move forward with invalidity contentions,

claim construction positions, and claim construction briefing will promote judicial economy, not

defeat it. None of these activities involve burdening this Court with the merits of the action before

deciding venue. Instead, they ready this case for a prompt determination on the merits regardless

of the outcome of ZTE’s venue motion.

       In an attempt to rely on In re Apple, ZTE erroneously assumes venue discovery cannot

close until June 4, 2021, making it inevitable that venue briefing will not be completed until after

the Markman hearings scheduled for May 20-21, 2021. -487 ECF No. 49 at 3. But June 4, 2021 is

only the latest date by which venue discovery can be completed. Venue discovery and briefing can

be completed earlier. WSOU served its venue discovery requests on December 17, 2020. The

requests are not extensive. Rather, they consist of 27 specific requests for production and two

interrogatories. ZTE’s responses are due January 18, 2021. On December 17, 2020, WSOU also

requested dates for depositions of ZTE’s venue declarants. WSOU requested that the depositions

occur in late January or early February. 1 Therefore, there is nothing preventing ZTE from

cooperating in completing venue discovery and briefing well before the May 20-21 Markman

hearings, and there is no reason to assume at this early stage that a stay is necessary to avoid having

this court “burden itself with the merits of the action” before determining ZTE’s venue motion.

       Granting a stay would only incentivize ZTE to drag out venue discovery. Instead, this Court

should allow the parties to continue the important work of preparing for claim construction

(something they must do regardless of the outcome of ZTE’s motion to dismiss) and leave in place

deadlines that should motivate the parties to promptly address venue.

1
 ZTE has not provided dates yet, making it possible that the depositions occur later in February
or in March. Either way, they should be complete before May.
                                                  3
         Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 4 of 7




       3. Denying ZTE’s motion to stay will cause no harm to ZTE.
       ZTE will suffer no harm by serving invalidity contentions, exchanging claim construction

terms, or briefing claim construction prior to a ruling on ZTE’s pending motions to dismiss or

transfer to the NDTX. This is work ZTE (and WSOU) must complete wherever this case is

pending. Indeed, invalidity contentions were due January 6, 2021. ZTE conferred with WSOU

about its motion to stay on November 20, 2020 but delayed filing until December 30, 2020, belying

ZTE’s argument that the purpose for its motion to stay is to avoid the burden of serving invalidity

contentions.

       There is no merit to ZTE’s claim that Markman briefing would need to be re-done if this

case is transferred to the NDTX. ZTE knows this because the NDTX recently relied on Markman

briefing filed by ZTE in the EDTX to issue a Markman ruling after the case was transferred. Fractus

S.A. v. ZTE Corporation et al, No. 3:18-CV-02838 (N.D. Tex. March 15, 2019) (amending

Markman order after transfer to the NDTX based on original Markman briefing filed in the EDTX).

In a seven-page Markman ruling, Judge Kinkeade adopted all but one of Judge Gilstrap’s claim

constructions. Id. The work done by the parties and Judge Gilstrap on Markman prior to transfer

was no additional burden on the parties and eased the burden on Judge Kinkeade once the case

was transferred.

       There is also no reason to conclude that ZTE will be burdened by general fact discovery

before a decision on its venue motion. This Court preserves party resources by delaying general

fact discovery until two weeks after Markman. It should be possible to complete venue discovery

and briefing long before fact discovery opens on May 24, 2021. 2
       4. A stay would harm WSOU by causing unnecessary delay and by incentivizing
          ZTE to delay venue discovery.
       As this Court has previously found, a patent holder has “an interest in the timely

enforcement of its patent right.” Multimedia Content Management LLC v. DISH Network L.L.C.,


2
 Even if fact discovery were open, participating in fact discovery would impose no additional
burden on ZTE, as ZTE would be required to produce the same discovery (most likely before
Markman) if this case were pending in the NDTX.
                                                4
          Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 5 of 7




No. 6:18-CV-00207-ADA, Dkt. 73 at 4 (W.D. Tex. May 30, 2019) (Albright, J.). A stay would

harm ZTE by unnecessarily delaying a ruling on the merits. It would also give ZTE an incentive

to drag out the venue discovery process in hopes of allowing IPR proceedings to advance ahead

of litigation. On the same day ZTE filed its motion to stay, Unified Patents, LLC filed an IPR

petition (IPR2021-00378) seeking to invalidate the ’960 Patent at issue in the -490 case. More

IPRs may be on the way. A delay of litigation could harm WSOU by allowing the IPR to advance

ahead of litigation. A stay would also tactically disadvantage WSOU, “as the longer this matter

persists, the more likely it is that evidence and witnesses’ memories will disappear or deteriorate.”

Allure Energy, Inc. v. Nest Labs, Inc., No. 9:13-CV-102, 2015 WL 11110606, at *1 (E.D. Tex.

Apr. 2, 2015).

       ZTE blames WSOU for “deliberately” prolonging venue briefing and argues WSOU is to

blame for any harm caused by the delay of a stay. -487 ECF No. 49 at 7. First, there is ample time

to complete venue discovery before the Markman hearings, making ZTE’s blame game irrelevant.

There is no reason to delay the substantive work of exchanging claim construction positions while

the parties complete venue discovery (particularly because, thanks to this Court’s procedures, the

parties are not simultaneously burdened with fact discovery).

       Second, even if relevant, there is no merit to ZTE’s allegation that WSOU is to blame for

the delay. A prompt resolution of venue has been WSOU’s goal all along. WSOU timely filed an

Amended Complaint 3 because ZTC claimed WSOU’s original complaints lacked sufficient

allegations to support personal jurisdiction. WSOU did not use the Amended Complaint as a tactic

to delay briefing on venue. Instead, despite the Amended Complaint, WSOU filed timely responses

to ZTX’s and ZTA’s motions to dismiss or transfer for improper venue. As WSOU explained in

prior briefing, WSOU was willing to move forward on ZTX’s and ZTA’s motions to dismiss

despite the Amended Complaint. -487 ECF 43.1 at 2-3. It was ZTE, not WSOU, that insisted on


3
  For some reason, ZTE alleges WSOU’s Amended Complaint was untimely filed without leave.
It is unclear how this allegation is relevant to ZTE’s motion. Regardless, it is incorrect. Under the
scheduling order, the deadline to amend pleadings without leave is September 16, 2021.
                                                 5
          Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 6 of 7




treating ZTX’s and ZTA’s original motions to dismiss for improper venue as moot. And it was

ZTE, not WSOU, that requested an extension of ZTE’s deadline to file renewed motions to

dismiss. 4 As a courtesy, WSOU agreed. ZTE now claims this courtesy is proof that WSOU

“deliberately” prolonged the briefing schedule.

       ZTE likewise blames WSOU for seeking venue discovery. -487 ECF No. 49 at 3. WSOU’s

original responses ZTE’s original motions requested venue discovery, but ZTE insisted that the

original motions triggering venue discovery be treated as moot. WSOU promptly served venue

discovery after receiving ZTE’s renewed motions.

    C. Conclusion

       The Court should deny ZTE’s Motion to Stay because ZTE has not shown a likelihood of

success on the merits and a stay would only prejudice WSOU, as ZTE’s affiliated entity has already

filed an IPR against an asserted patent in this case. Moreover, granting such a stay is an act against

judicial economy.




4
  Similarly, WSOU timely filed responses to ZTE’s original § 1404 motions. It was ZTE, not
WSOU, that caused delay (and unnecessary briefing) by baselessly insisting the § 1404 motions
were mooted by WSOU’s Amended Complaint. ZTE then filed untimely renewed § 1404 motions,
causing WSOU the unnecessary work of preparing a motion to strike (which was never filed
because the Court struck ZTE’s untimely renewed § 1404 motions sua sponte).
                                                  6
         Case 6:20-cv-00487-ADA Document 50 Filed 01/06/21 Page 7 of 7




Dated: January 6, 2021                     Respectfully submitted,

                                           /s/ Ryan Loveless
                                           James L. Etheridge
                                           Texas State Bar No. 24059147
                                           Ryan S. Loveless
                                           Texas State Bar No. 24036997
                                           Brett A. Mangrum
                                           Texas State Bar No. 24065671
                                           Travis Lee Richins
                                           Texas State Bar No. 24061296
                                           ETHERIDGE LAW GROUP, PLLC
                                           2600 E. Southlake Blvd., Suite 120 / 324
                                           Southlake, Texas 76092
                                           Telephone: (817) 470-7249
                                           Facsimile: (817) 887-5950
                                           Jim@EtheridgeLaw.com
                                           Ryan@EtheridgeLaw.com
                                           Brett@EtheridgeLaw.com
                                           Travis@EtheridgeLaw.com

                                           Mark D. Siegmund
                                           State Bar No. 24117055
                                           mark@waltfairpllc.com
                                           Law Firm of Walt, Fair PLLC.
                                           1508 North Valley Mills Drive
                                           Waco, Texas 76710
                                           Telephone: (254) 772-6400
                                           Facsimile: (254) 772-6432

                                           ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE
       I certify that on January 6, 2021 a true and correct copy of the foregoing document was

served upon all counsel of record via the Court’s electronic delivery system under this Court’s

Local Rules.




                                                   /s/ Travis Richins
                                                   Travis Richins



                                              7
